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                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:              United States of America v. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi           DATE:            12/9/2019

COURT ACTION: EO: COURT ORDER DENYING DEFENDANT’S MOTIONS
FILED ON DECEMBER 2, 2019 [DKT. NOS. 686 AND 688]

       On December 2, 2019, pro se Defendant Anthony T. Williams (“Defendant”) filed
two motions, [dkt. nos. 686, 688,] that are CONSTRUED as motions to dismiss the
pending charges against him (“12/2/19 Motions”). See Superseding Indictment, filed
3/28/19 (dkt. no. 154). The Court finds that: the 12/2/19 Motions are suitable for
disposition without a hearing pursuant to Local Rule 7.1(c); and it is not necessary for
Plaintiff the United States of America to file responses to the motions.

       The crux of docket number 686 is that the charges against Defendant should be
dismissed because there is no complaining witness against him. The crux of docket
number 688 is that the charges against Defendant should be dismissed because there is
insufficient evidence to support the charges. The 12/2/19 Motions repeat arguments that
Defendant has already raised in previous motions to dismiss and that this Court has
already considered and rejected. See Order Denying Def.’s Motion for Constitutional
Challenge to Grand Jury Rule 6(d) of the Fed. R. of Crim. P. and Def.’s Motion for Order
of Dismissal, filed 2/7/18 (dkt. no. 104); Order Denying Def.’s “Sworn Motion to
Dismiss Superseding Indictment,” filed 10/1/18 (dkt. no. 330).

        To the extent the 12/2/19 Motions seek reconsideration of the Court’s prior orders,
the motions merely allege errors of law and/or fact in the prior dismissal orders; they do
not allege newly available evidence or intervening changes in the law. Defendant’s
request for reconsideration is untimely because motions for reconsideration alleging
“[m]anifest error of law or fact” must be brought within fourteen days after the original
order is issued. See Local Rule LR60.1(c); see also EO: Court Order Denying Def.’s
“Motion for Reconsideration of Court’s 8/21/18 Electronic Order Re: ‘United States’s
Motion to Extend the Deadline to Respond to Defendant’s Motion to Dismiss,’” filed
10/1/18 (dkt. no. 329), at 2 (stating that Local Rule 60.1 applies to motions for
reconsideration of nondispositive orders in this case). Further, even if this Court
considered the 12/2/19 Motions’ untimely request for reconsideration, the request would
be denied because the 12/2/19 Motions do not establish any manifest error of law or fact
in the Court’s prior dismissal orders. Defendant’s 12/2/19 Motions are therefore
DENIED.
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      IT IS SO ORDERED.


Submitted by: Agalelei Elkington, Courtroom Manager
